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8                                UNITED STATES DISTRICT COURT
9                             SOUTHERN DISTRICT OF CALIFORNIA
10
11     IN RE SDG&E CONSOLIDATED                              Case No. 17-cv-02433-BAS-JLB
       CASES.                                                Consolidated Case Nos.
12
                                                             (1) 18-cv-01389-BAS-JLB
13                                                           (2) 18-cv-01390-BAS-JLB
                                                             (3) 18-cv-01561-BAS-JLB
14
15                                                           ORDER TO FILE AMENDED
                                                             COMPLAINT
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19           In 2019, Plaintiffs filed motions for leave to amend their complaints in the respective
20    individual cases, attaching the proposed amended complaints. The Court granted the
21    motions and Ordered Plaintiffs to file the proposed drafts as their amended complaints. 1
22    Plaintiffs never did so.
23           Because a proposed draft has no effect of an operative pleading, the Court ORDERS
24    Plaintiffs to file the amended complaints on or before January 8, 2021. Pursuant to the
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27           1
                Order, De La Rosa v. San Diego Gas & Electric Co. et al., 3:18-cv-01389, ECF No. 33; Order,
      Alires et al v. San Diego Gas & Electric Co. et al., 3:18-cv-01390, ECF No. 30; Order, Cruz v. San Diego
28    Gas & Electric Co. et al., 3:18-cv-01561, ECF No. 30.

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                                                                                                     17cv2433
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1     Court’s January 2, 2020 Order requiring the parties to file all documents in the lead case,
2     Plaintiffs shall file the amended complaints in the lead case (17cv2433).
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4           IT IS SO ORDERED.
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6     DATED: January 4, 2021
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